           Case 2:07-cr-00343-JLR          Document 402   Filed 05/16/11   Page 1 of 4




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 7
                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9

10      UNITED STATES OF AMERICA,                     CASE NO. CR07-0343JLR

11                            Plaintiff,              ORDER DENYING MOTIONS

12                   v.

13      MIGUEL ANGEL JIMENEZ,

14                            Defendant.

15         This matter comes before the court on Defendant Miguel Angel Jimenez’s

16 renewed motion for judgment of acquittal, motion in arrest of judgment, and motion for a

17 new trial (Dkt. # 399). The court previously denied the oral motions to sever, for

18 judgment of acquittal, and for a new trial raised by Mr. Jimenez during and at the close of

19 his trial (Dkt. # 396) as well as Mr. Jimenez’s motion for judgment of acquittal on Counts

20 3 through 19 (Dkt. ## 356 (motion) & 395 (order)). The court DENIES Mr. Jimenez’s

21 renewed motion for judgment of acquittal, motion in arrest of judgment, and motion for a

22 new trial (Dkt. # 399).


     ORDER- 1
            Case 2:07-cr-00343-JLR       Document 402      Filed 05/16/11     Page 2 of 4




 1 A.       Renewed Motion for Judgment of Acquittal

 2          The court construes Mr. Jimenez’s renewed motion for judgment of acquittal as to

 3 Counts 1 and 2 and renewed motion for judgment of acquittal as to Counts 3 through 19

 4 as a motion for reconsideration of the court’s rulings denying his prior motions for

 5 judgment of acquittal. (See Dkt. ## 355, 356.) Local Criminal Rule 12(c)(11) provides,

 6 in pertinent part, as follows:

 7          Motions for reconsideration are disfavored. The court will ordinarily deny
            such motions in the absence of showing a manifest error in the prior ruling
 8          or a showing of new facts which could not have been brought to its
            attention earlier with reasonable diligence.
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     Local Rules W.D. Wash. CrR 12(c)(11)(A). Having reviewed Mr. Jimenez’s motion, the
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     record, and the relevant law, the court concludes that Mr. Jimenez has not made either
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     showing with respect to his motions for judgment of acquittal. Mr. Jimenez’s motion
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     does not present any legal argument, nor does it identify any facts that were not available
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     to the court when it denied his prior motions. The court therefore DENIES Mr.
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     Jimenez’s motion for reconsideration of the court’s orders denying his prior motions for
15
     judgment of acquittal.
16
     B.     Motion for Arrest of Judgment
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            Mr. Jimenez moves for arrest of judgment on Counts 1 and 2 on the ground that
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     the court lacks subject matter jurisdiction over those counts. Federal Rule of Criminal
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     Procedure 34 provides, in relevant part, that the court must arrest judgment if the
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     indictment does not charge an offense or the court does not have jurisdiction of the
21
     charged offense. Fed. R. Crim. P. 34(a). The court denied Mr. Jimenez’s prior motions
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     ORDER- 2
           Case 2:07-cr-00343-JLR        Document 402       Filed 05/16/11     Page 3 of 4




 1 to dismiss Counts 1 and 2 for lack of subject matter jurisdiction. (See Dkt. ## 85, 287,

 2 385 (motions); Dkt. ## 147, 332, 396 (rulings).) In the motion now before the court, Mr.

 3 Jimenez raises no new legal arguments and cites no authority in support of his challenge

 4 to the court’s jurisdiction over Counts 1 and 2. The court therefore DENIES Mr.

 5 Jimenez’s motion for arrest of judgment for the same reasons it denied his prior motions

 6 to dismiss.

 7 C.       Motion for a New Trial

 8          Finally, Mr. Jimenez moves for a new trial. Federal Rule of Criminal Procedure

 9 33 provides that the court may vacate any judgment and grant a new trial if the interest of

10 justice so requires. Fed. R. Crim. P. 33(a). Mr. Jimenez contends that he is entitled to a

11 new trial based on a number of the court’s rulings on motions made by Mr. Jimenez both

12 before and during trial.1 (Mot. at 2-3.) Mr. Jimenez also asserts that Agent Vincent

13 Carpio presented “untruthful” testimony at trial and argues that the evidence was

14 insufficient for the jury to convict him on Counts 1 through 19. (Id.) Having considered

15 Mr. Jimenez’s motion, the trial record, and the relevant law, the court DENIES Mr.

16 Jimenez’s motion for a new trial.

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           Contrary to Mr. Jimenez’s assertions, the court authorized funding for one of Mr.
   Jimenez’s witnesses to travel from Colombia (see Dkt. # 332) and ruled on his motion for
22 judgment of acquittal on counts 3 through 19 (see Dkt. # 395).


     ORDER- 3
          Case 2:07-cr-00343-JLR     Document 402   Filed 05/16/11   Page 4 of 4




 1        Dated this 16th day of May, 2011.

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 3                                             A                     ____
                                               JAMES L. ROBART
 4                                             United States District Judge

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     ORDER- 4
